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  12
  13                  IN THE UNITED STATES DISTRICT COURT
  14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15
       MONSTER ENERGY COMPANY,             ) Case No. 5:18-cv-01367-AB-AS
  16
       a Delaware corporation,             )
                                           ) PLAINTIFF’S AND
  17
                   Plaintiff,              ) DEFENDANTS’ JOINT BRIEF
                                           ) REGARDING PLAINTIFF’S
  18
             v.                            )
                                           ) REQUEST FOR ATTORNEYS’
  19
       THUNDER BEAST LLC, a District       ) FEES
       of Columbia limited liability       )
  20
       company, and                        )
                                           )
  21
       STEPHEN NORBERG, an                 )
       individual,                         )
  22                                       )
                   Defendants.             )
  23                                       )
  24
         REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
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   1           Pursuant to the Court’s October 22, 2018 Order Granting Anti-SLAPP
   2   Motion to Strike and Granting in Part and Denying in Part Motion to Strike
   3   Under Rule 12(f) (Dkt. No. 31), Plaintiff Monster Energy Company (“Plaintiff”
   4   or “Monster”) and Defendants Thunder Beast LLC and Stephen Norberg
   5   (“Defendants”) hereby submit the following Joint Brief Regarding Plaintiff’s
   6   Request for Attorneys’ Fees.
   7                              PLAINTIFF’S POSITION
   8                                  I. INTRODUCTION
   9           This Court’s October 22, 2018 Order granted Plaintiff’s Anti-SLAPP
  10   Motion to Strike and found that Plaintiff is entitled to an award of attorney’s
  11   fees. Dkt. No. 31 at 7. Plaintiff seeks recovery of $20,985.52 in attorneys’ fees
  12   for the time spent in connection with the Anti-SLAPP portion of Plaintiff’s
  13   motion to strike. As described in more detail below, and in the supporting
  14   declaration of Paul Stewart (“Stewart Decl.”) filed herewith, that fee amount is
  15   reasonable. Accordingly, Plaintiff is entitled to recover the requested attorneys’
  16   fees.
  17                                   II. ARGUMENT
  18   A.      Applicable Standards
  19           California courts calculate a reasonable statutory fee award by beginning
  20   with the lodestar figure, which multiplies the number of hours counsel
  21   “reasonably expended” litigating the motion by counsel’s “reasonable hourly
  22   rate.” PLCM Group v. Drexler, 22 Cal. 4th 1084, 1095 (2000). The lodestar
  23   figure is presumptively reasonable.       Orian v. Fed’n Int’l des Droits de
  24   L’Homme, No. CV 11-6904 PSG (FFMx), 2012 WL 994643, at *2 (C.D. Cal.
  25   Mar. 22, 2012); Cunningham v. City of Los Angeles, 879 F.2d 481, 488 (9th Cir.
  26   1988). However, the figure may be adjusted based on “such factors as the
  27   nature of the litigation, the complexity of the issues, the experience and
  28   expertise of counsel and the amount of time involved.” Wilkerson v. Sullivan,
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   1   99 Cal. App. 4th 443, 448 (2002) (citations omitted); see also Christie v. Lester,
   2   No. CV 14-08993-RGK (FFMx), 2015 WL 13439821, at *2 (C.D. Cal. Jun. 15,
   3   2015) (identifying additional factors that may be considered).
   4   B.    The Hours Worked in Connection with Plaintiff’s Anti-SLAPP
   5         Motion Were Reasonable
   6         The Stewart Declaration describes the services performed in connection
   7   with the Anti-SLAPP portion of Plaintiff’s motion to strike. Mr. Stewart’s
   8   narrative review of the work is further supported by Exhibit A to his declaration,
   9   which provides, on a day-by-day basis, the time entries (including the
  10   description of work, time recorded, and amount billed) associated with each
  11   attorney whose billings on this matter are being sought.1 The attorneys on this
  12   case were instructed to record time separately for the Anti-SLAPP portion of the
  13   motion and the Rule 12(f) portion of the motion where possible. Stewart Decl. ¶
  14   4. For those time entries (totaling four entries total) that were not specifically
  15   segregated between the Anti-SLAPP and Rule 12(f) portions of Plaintiff’s
  16   motion, Plaintiff only seeks half of the billed amounts.2 Id. ¶ 7; Ex. A at 6.
  17   Those time entries are marked with an asterisk in Exhibit A. Ex. A at 6.
  18
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             1
               Redacted copies of the actual client bills have been sent to Defendants’
  20   counsel for their review as part of the parties’ meet and confer process. To the
  21   extent that the Court would like to review the redacted client bills for this
       matter, Plaintiff can file them under seal for the Court’s review.
  22         2
                Plaintiff applied a 50% reduction for those time entries because
  23   approximately half of Plaintiff’s motion to strike was directed to the Anti-
       SLAPP argument. For example, the legal argument for the Anti-SLAPP portion
  24   of the motion was seven pages and the legal argument for the Rule 12(f) portion
  25   was six pages. See Dkt. 23. Moreover, Plaintiff could have sought recovery for
       the entire amount of those time entries (as well as all other time spent in
  26   connection with the motion to strike addressing Defendants’ affirmative
       defenses), as the issues addressed by the motion to strike were intertwined. See,
  27   e.g., Earvana, LLC v. Ernie Ball, Inc., No. CV 14-2302-R, 2014 WL 12605371,
       at *2-*3 (C.D. Cal. Dec. 17, 2014).
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   1         Plaintiff attempted to avoid the need to file the Anti-SLAPP motion
   2   through a pre-filing meet and confer with Defendants’ counsel on August 31,
   3   2018, but was unsuccessful because Defendants would not withdraw their unfair
   4   competition counterclaim. The work done in preparing the motion was typical
   5   of that associated with a relatively complex law and motion matter in federal
   6   court, including legal research, drafting, review, meetings, and discussions with
   7   the client.   Additionally, Defendants filed an opposition which required
   8   preparation of a reply brief.
   9         Plaintiff seeks reimbursement for a total of 41.8 hours of attorney time for
  10   the Anti-SLAPP motion, which is lower than what courts have previously found
  11   to be reasonable in Anti-SLAPP cases. See, e.g., Christie, 2015 WL 13439821,
  12   at *3 (“[P]revious cases have determined 50 hours to be reasonable for anti-
  13   SLAPP litigation.”). All of the work identified in Exhibit A was also necessary
  14   to preparing the motion, including legal research on California’s Anti-SLAPP
  15   statute and its relation to Defendants’ unfair competition counterclaim, drafting
  16   the motion, reviewing and revising the draft motion, discussing the motion with
  17   the client, and preparing the reply brief. The work was also split between two
  18   attorneys—one partner and one associate—who performed non-duplicative
  19   tasks. Accordingly, the number of hours worked in connection with the Anti-
  20   SLAPP portion of the motion was reasonable.
  21   C.    The Requested Hourly Rates Are Reasonable
  22         A reasonable rate is based upon the prevailing market rate in the
  23   community for “similar work performed by attorneys of comparable skill,
  24   experience, and reputation.” Chalmers v. City of Los Angeles, 796 F.2d 1205,
  25   1210-11 (9th Cir. 1986). The relevant community is generally the location in
  26   which the Court is located. Barjon v. Dalton, 132 F.3d 496, 500 (9th Cir. 1997).
  27   The Court may rely upon its own knowledge of prevailing rates in the relevant
  28   ///
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   1   legal market, in addition to the evidence presented by the parties. Ingram v.
   2   Oroudijan, 647 F.3d 925, 928 (9th Cir. 2011).
   3         Here, Plaintiff seeks an award of $625.50/hr for Paul Stewart and $378/hr
   4   for Daniel Kiang.3 As set forth in the Stewart Declaration and supporting
   5   documents, these hourly rates are reasonable and within the relevant, prevailing
   6   market range. Mr. Stewart has been practicing intellectual property law since
   7   1991 and is a partner at Knobbe Martens.         He has significant experience
   8   litigating trademark, trade secret, unfair competition, and data privacy claims.
   9   See Stewart Decl. ¶ 9; Ex. B.      Mr. Kiang has been practicing intellectual
  10   property law since 2015 and is a fourth-year litigation associate at Knobbe
  11   Martens. His experience also extends to trademark litigation. See Stewart Decl.
  12   ¶ 10; Ex. C.
  13         The American Intellectual Property Law Association (“AIPLA”) 2017
  14   Report of the Economic Survey further supports a finding that the hourly rates
  15   requested are reasonable and within the relevant, prevailing market range.4 See
  16   Stewart Decl., Ex. D. The AIPLA survey is conducted every two years and
  17   reports, among other things, the billing rates of intellectual property attorneys,
  18   stratified by location and experience. Ex. D at 1. The AIPLA survey has been
  19   used as evidence of reasonable attorney billing rates in Anti-SLAPP cases. See
  20   Earvana, LLC v. Ernie Ball, Inc., No. CV 14-2302-R, 2014 WL 12605371, at
  21   *2 (C.D. Cal. Dec. 17, 2014). While the AIPLA survey was published in 2017,
  22   the statistics reported were based on 2016 billing rates. See Ex. D at I-27, I-39.
  23   Accordingly, the survey does not account for billing rate increases that have
  24         3
              These rates are inclusive of any and all discounts provided by Plaintiff’s
  25   counsel to Plaintiff.
             4
  26             Plaintiff’s law firm in this case, Knobbe Martens, specializes in
       intellectual property law and this case is an intellectual property case.
  27   Accordingly, the AIPLA survey, which reports billing rates for intellectual
       property law attorneys, is relevant here.
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   1   occurred since 2016. Nevertheless, the survey shows that the 2018 billing rates
   2   of Plaintiff’s counsel are reasonable even when evaluated in comparison to 2016
   3   rates.
   4            The AIPLA survey reports that for partners in the Los Angeles area, the
   5   median billing rate was $525/hr and the third quartile was $770/hr. Id. at I-27.
   6   The survey also reports that for associates in the Los Angeles area, the median
   7   billing rate was $370/hr and the third quartile was $525/hr. Id. at I-39. Both
   8   Mr. Stewart’s and Mr. Kiang’s hourly rates of $625.50/hr and $378/hr,
   9   respectively, fall between the median and third quartile for attorneys in Los
  10   Angeles.5
  11            The reasonableness of Mr. Stewart’s and Mr. Kiang’s rates are further
  12   confirmed by search results from Peer Monitor that were provided to
  13   Defendants’ counsel. Peer Monitor is a subscription based service offered by
  14   Thomson Reuters that allows users to search for attorney billing rate data based
  15   on certain criteria such as location and practice group. Stewart Decl. ¶ 12. The
  16   Peer Monitor data provided to Defendants’ counsel indicated that in California,
  17   4th year associates had a mean billing rate of $618/hr and median billing rate of
  18   $620/hr in 2018, while partners with 26-29 years of experience had a mean
  19   billing rate of $941/hr and a median billing rate of $895/hr in 2018. Stewart
  20   Decl. ¶ 12; Ex. E. Mr. Stewart’s and Mr. Kiang’s rates are less than these
  21   ///
  22
                5
                The AIPLA survey also reports that nationally the median billing rate
  23   for partners with 25-34 years of experience as of 2016 was $490/hr and the third
       quartile was $675. Ex. D at I-27. The median billing rate nationally for
  24   associates with fewer than five years of experience as of 2016 was $280/hr, the
       third quartile was $360/hr, and the 90th percentile was $525/hr. Id. at I-39. This
  25   data further supports the reasonableness of Mr. Stewart’s and Mr. Kiang’s
       billing rates. Mr. Stewart’s hourly rate falls between the median and third
  26   quartile. Mr. Kiang’s hourly rate is slightly above the third quartile for
       associates nationally with fewer than 5 years of experience, although this is not
  27   unreasonable because Mr. Kiang, as a fourth-year associate, is at the upper end
       of that category which includes first through fourth year associates.
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    1   reported mean and median rates, which further illustrates that the rates are
    2   reasonable.
    3         Also relevant to this Court’s assessment of reasonable hourly rates are
    4   similar decisions on fee issues. Awards of approximately $20,000 have been
    5   awarded in California, although some cases award significantly higher fees.
    6   See, e.g., AT&T Mobility LLC v. Yeager, No. 2:13-cv-00007 KJM DB, 2018
    7   WL 1567819 (E.D. Cal. Mar. 30, 2018) (awarding $20,053.43 for Anti-SLAPP
    8   motion); Orian, 2012 WL 994643, at *3 (awarding fees and costs of $77,913.23
    9   to one defendant and of $31,758.46 to another defendant for successful Anti-
   10   SLAPP motions); Christie, 2015 WL 13439821 (awarding $20,790 for Anti-
   11   SLAPP motion); Earvana, 2014 WL 12605371, at *2-3 (awarding $28,631.50
   12   for Anti-SLAPP motion).
   13   D.    Summary of Lodestar Calculations
   14         Based on Exhibit A, Mr. Stewart spent 21.4 hours on the Anti-SLAPP
   15   portion of the motion. As noted above, Plaintiff has applied a 50% reduction for
   16   Mr. Stewart’s 0.9 hour time entry on August 23, 2018, bringing the total number
   17   of hours down to 20.95. At Mr. Stewart’s hourly rate of $625.50 for this matter,
   18   the total for his time is $13,104.22.
   19         Mr. Kiang spent 23.2 hours on the Anti-SLAPP portion of the motion. As
   20   noted above, Plaintiff has applied a 50% reduction for Mr. Kiang’s time entries
   21   on August 10, August 13, and August 23, bringing the total number of hours
   22   down to 20.85. At Mr. Kiang’s hourly rate of $378/hr for this matter, the total
   23   for his time is $7,881.30.
   24         Thus, the total requested amount for both attorneys’ time is $20,985.52.
   25                                  III. CONCLUSION
   26         For the reasons set forth above, Plaintiff respectfully requests that the
   27   Court award Plaintiff its reasonable attorneys’ fees of $20,985.52 incurred in
   28   connection with the Anti-SLAPP portion of its motion to strike.
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    1                            DEFENDANTS’ POSITION
    2                                I. INTRODUCTION
    3         Plaintiff has asked this Court to award it over twenty thousand dollars
    4   ($20,000) in attorneys’ fees for preparing what was essentially one-third of a
    5   single motion, argued without a hearing. Plaintiff’s support for its exorbitant
    6   request consists of its own self-serving assertions, skewed and misleading data,
    7   and largely improper billing records. As such, Plaintiff has failed to meet its
    8   burden of establishing that the number of hours or the hourly rate they have
    9   requested are reasonable.
   10         Defendant has recalculated the amount due to Plaintiff based on market
   11   research, industry standard practice, and controlling precedent. Based upon this
   12   data, Defendant proposes to pay Plaintiff a total of $5,122.00. Defendant’s
   13   calculations are explained in the argument section below, as well as laid out in
   14   the detailed spreadsheet attached as Exhibit A to the Declaration of Eve J.
   15   Brown.
   16                          II. APPLICABLE STANDARD
   17         California courts calculate a reasonable statutory fee award in an anti-
   18   SLAPP case using the lodestar method, which multiplies the number of hours
   19   counsel “reasonably expended” litigating the motion by counsel’s “reasonable
   20   hourly rate.” AT&T Mobility LLC v. Yeager, No. 2:13-CV-00007 KJM DB,
   21   2018 WL 1567819, at *1 (E.D. Cal. Mar. 30, 2018). While Plaintiff is correct
   22   that the lodestar figure is presumptively reasonable, it is well established that
   23   the sum may be adjusted based on “such factors as the nature of the litigation,
   24   the complexity of the issues, the experience and expertise of counsel and the
   25   amount of time involved.” Id.
   26         As the prevailing party, Plaintiff has the burden of submitting records to
   27   establish that the number of hours they have requested and the rate they have
   28   charged are, in fact, reasonable and supported by the market, as well as by the
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    1   facts. Blum v. Stenson, 465 U.S. 886, 896 n.11 (1984) (the burden is upon the
    2   party moving for fees “to produce satisfactory evidence ... that the requested
    3   rates are in line with those prevailing in the community for similar services by
    4   lawyers of reasonably comparable skill, experience, and reputation.”).
    5         Further, while the court has broad discretion to determine a reasonable
    6   award of attorney fees, it must provide a “clear explanation of its reasons for the
    7   fee award.” Hensley v. Eckerhart, 461 U.S. 424, 437 (1983); see also Hall v.
    8   Bolger, 768 F.2d 1148, 1151 (9th Cir. 1985) (court should provide an
    9   explanation of the reasonable hours and hourly rate it uses to arrive at fee
   10   award).   If the plaintiff does not meet its burden of providing satisfactory
   11   evidence, the court is unable to provide a clear explanation of its reasoning for
   12   the fee award. See id.
   13                                  III. ARGUMENT
   14   A.    Plaintiff’s Record of Hours Worked is Inflated, Duplicative, Vague,
   15         and Conflates Tasks Unrelated to the Anti-Slapp Portion of its
   16         Motions
   17         It is within the court’s discretion to review Plaintiff’s time records to
   18   determine whether the hours are adequately documented in a manner that can be
   19   properly billed directly to clients. Van Gerwen v. Guar. Mut. Life Co., 214 F.3d
   20   1041, 1045 (9th Cir. 2000); Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983).
   21   The court may adjust these hours down if it believes the documentation to be
   22   inadequate, if the hours were duplicative, or if they were either excessive or
   23   unnecessary. Chalmers v. City of Los Angeles, 796 F.2d 1205, 1210 (9th
   24   Cir.1986). The court also must assess whether the hours claimed are vague,
   25   block-billed, or whether the hours in their entirety must be reduced because of
   26   limited success in the action (for example, because Plaintiff prevailed only on a
   27   portion of its overall claims). Cotton v. City of Eureka, 889 F. Supp. 2d 1154,
   28   1176 (N.D. Cal. 2012).
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    1         Here, all of the above issues are present. Plaintiff’s claimed hours are
    2   often duplicative, excessive, vague, unnecessary, and block-billed. Such
    3   problematic entries are identified in detail in Exhibit A, which contains
    4   Defendant’s explanations for each entry’s proposed reduction.
    5         Another cause for reduction is that Plaintiff’s bills include hours spent,
    6   not exclusively on anti-SLAPP claims, but on the unsuccessful portions of
    7   Plaintiff’s motion to strike that related to Defendant’s affirmative defenses.
    8   Work performed on these non-anti-SLAPP portions of Plaintiff’s motion is not
    9   eligible for an attorneys’ fee award and must be redacted from Plaintiff’s claim.
   10   Indeed, Plaintiff’s counsel readily acknowledges in the Declaration of Paul A.
   11   Stewart and its Exhibit A that its billing entries in this matter conflate time spent
   12   on the anti-SLAPP portion of the motion, which is reimbursable, with time
   13   spent on the motion to strike affirmative defenses, which is not reimbursable.
   14         To rectify its failure to properly segregate its time, Plaintiff arbitrarily
   15   “halved” its entries. Plaintiff’s unilateral adjustment is unacceptable. When
   16   substantively evaluating Plaintiff’s overall motion to strike, it is evident that the
   17   anti-SLAPP arguments are merely one part of a combined motion. An analysis
   18   of the substance of the motion reveals that, in fact, the majority of Plaintiff’s
   19   motion was devoted to striking Defendant’s affirmative defenses of unclean
   20   hands and trademark misuse, with only six out of twenty-five double-spaced
   21   pages, or less than one-fourth of the entire motion, related directly to anti-
   22   SLAPP.
   23         Accordingly, Plaintiff’s unsegregated time should be reduced, not by half,
   24   but by three-fourths. This reduction reflects the actual percentage of the motion
   25   relating directly to Plaintiff’s anti-SLAPP claims. See Graham–Sult v. Clainos,
   26   2012 WL 994754, at *4 (N.D. Cal. Mar. 23, 2012) (granting attorneys’ fee
   27   request for work performed directly on anti–SLAPP motion, but not for work
   28   generally related to “reviewing a motion to dismiss”); Lee–Tzu Lin v. Dignity
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    1   Health–Methodist Hosp. of Sacramento, 2014 WL 5698448, at *5 (E.D. Cal.
    2   Nov. 4, 2014) (reducing attorneys' fees by 25% where only up to 50% of the
    3   arguments presented in the motion to dismiss were in support of the anti-SLAPP
    4   motion).
    5         To compromise, and in a good faith gesture to resolve this dispute,
    6   Defendant proposes a reduction in Plaintiff’s unsegregated time entries by two-
    7   thirds. See Exhibit A to Declaration of Eve J. Brown.
    8   B.    Plaintiff’s Claimed Hourly Rates Must be Adjusted to Reflect Both
    9         Controlling Precedent and the Market
   10         Defendant proposes to adjust Plaintiff’s hourly rate to reflect the market,
   11   controlling precedent, and Defendant’s own counsel’s hourly rate.
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   16         The above rates are supported by the cases Plaintiff itself cites from
   17   within this district, Christie v. Lester, 105 WL 13439821 (C.D. Cal. June 5,
   18   2015), and Earvana, LLC v. Ernie Ball, Inc., 2014 WL 12605371 (C.D. Cal.
   19   Dec 17 2014), both of which concluded that the reasonable hourly rate for Los
   20   Angeles attorneys of significant experience engaged in anti-SLAPP litigation
   21   was under $400.
   22         In Christie, the court considered a reasonable rate for a Los Angeles
   23   attorney with twenty-four years of experience, who was also certified as a
   24   specialist by the State Bar of California. Citing Maughan v. Google Tech., Inc.,
   25   143 Cal. App. 4th 1242, 1249 (2006), the Christie court held that $350 per hour
   26   was reasonable for anti-SLAPP litigation in Los Angeles. In light of the specific
   27   attorney’s extensive expertise in the Christie case, the court allowed for an
   28   ///
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    1   upward adjustment, setting an ultimate rate of $385/hour. Christie, 105 WL
    2   13439821, at *2.
    3         In Earvana, the court set reasonable hourly rates for Los Angeles
    4   attorneys even lower, at $315 for partners and $290 for associates, which it
    5   stated were “similar to the prevailing market rate in Los Angeles for comparable
    6   litigation.” Earvana, 2014 WL 12605371, at *2.6
    7
    8
    9
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   11                           See Declaration of Eve J. Brown.
   12                      IV. SUMMARY OF CALCULATIONS
   13         Defendant has recalculated Plaintiff’s hours to reflect only time spent on
   14   that portion of its motion related to anti-SLAPP, and to eliminate improperly
   15   duplicative or excessive hours. Defendant has additionally recalculated
   16   Plaintiff’s hourly rate to reflect the market. These adjustments have resulted in a
   17   two-thirds reduction in the number of hours Plaintiff recorded (mirroring the
   18   actual percentage of Plaintiff’s motion devoted to anti-SLAPP), and a resetting
   19   of counsel’s hourly rate to $360 for Paul Stewart and $270 for Daniel Kiang.
   20
              6
   21            Defendant appreciates that Plaintiff has provided an AIPLA report to
        support its claimed rates. However, the AIPLA rates are not for anti-SLAPP
   22   litigation. Further, the AIPLA report does not distinguish between transactional
   23   and litigation IP work, nor between various types of intellectual property. Patent
        work, for example, is notoriously more expensive than other forms of IP law,
   24   due to its heightened licensing and expertise requirements. The AIPLA report
   25   combines patent rates with trademark and copyright rates, resulting in a higher
        average rate than the market actually supports for trademark work such as that
   26   performed by counsel in this matter. The report is also anemic with respect to
   27   geographic data, citing information from only five individuals in the Los
        Angeles area. Overall, the AIPLA report is statistically unstable and/or merely
   28   anecdotal.
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    1   These hourly rates are based upon accepted hourly rates for Los Angeles
    2   partners and associates, respectively, in anti-SLAPP litigation.
    3
    4
    5              Applying the above adjustments, Defendant calculates that a total of
    6   $5,122.00 may be due to Plaintiff pursuant to the Court’s order.
    7                                     V. CONCLUSION
    8              For the reasons set forth above, Defendant respectfully requests that the
    9   Court find that $5,122.00 represents a reasonable accounting of attorneys’ fees
   10   incurred by Plaintiff in connection with the anti-SLAPP portion of its motion to
   11   strike.
   12                                     Respectfully submitted,
   13                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
   14
   15   Dated: November 28, 2018          By: /s/ Paul A. Stewart
                                             Steven J. Nataupsky
   16
                                             Lynda J. Zadra-Symes
   17                                        Paul A. Stewart
                                             Matthew S. Bellinger
   18
                                             Daniel C. Kiang
   19
                                          Attorneys for Plaintiff,
   20                                     MONSTER ENERGY COMPANY
   21
   22                                     BARTON GILMAN, LLP

   23
   24   Dated: November 28, 2018          By: /s/ Eve J. Brown (with permission)
                                             Eve J. Brown
   25
                                          Attorney for Defendants,
   26                                     THUNDER BEAST, LLC and STEPHEN
   27                                     NORBERG
   28   29462745


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